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 8
                               UNITED STATES DISTRICT COURT
 9
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN JOSE DIVISION
11

12
     IN RE NEXUS 6P PRODUCTS LIABILITY           Case No.: 5:17-cv-02185-BLF
13
     LITIGATION
14                                               DECLARATION OF SIMON J. FRANKEL
                                                 IN SUPPORT OF PLAINTIFFS’
15                                               ADMINISTRATIVE MOTION TO FILE
                                                 UNDER SEAL
16
                                                 Hon. Beth Labson Freeman
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     DECLARATION OF SIMON J. FRANKEL IN SUPPORT OF                    5:17-cv-02185-BLF
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE
     UNDER SEAL
               Case 5:17-cv-02185-BLF Document 195 Filed 04/15/19 Page 2 of 2



 1            I, Simon J. Frankel, hereby declare as follows:
 2                   1.      I am an attorney in the law firm of Covington & Burling LLP, counsel for
 3   defendant Huawei Device USA, Inc. (“Huawei”) in this action. I am licensed to practice law in the State
 4   of California and admitted to the bar of the U.S. District Court for the Northern District of California.
 5   The matters set forth herein are true and correct of my own personal knowledge and, if called as a
 6   witness, I could and would testify competently thereto.
 7                   2.      Certain portions of the documents filed in connection with Plaintiffs’ Motion for
 8   Preliminary Approval of Class Action Settlement, Dkt. 194, contain highly confidential Huawei
 9   information, including confidential sales information. Specifically, this information appears in:
10        •    Lines 6, 27, and 28 of page 7; and line 1 of page 8 of the Joint Declaration of Daniel C. Girard
11             and Benjamin F. Johns in Support of Plaintiffs’ Motion for Preliminary Approval of Class
12             Action Settlement
13        •    Line 21 of page 5; lines 15-17 of page 6; lines 2-3 of page 16; lines 2-3 of page 19; and lines
14             21-22 of page 22 of Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement
15                   3.      I understand that sales information regarding specific devices in specific regions,
16   such as the information at issue here, is kept confidential by Huawei and would harm Huawei’s
17   competitive position if made public. Compelling reasons exist to seal this information. See Johnson v.
18   Quantum Learning Network, Inc., 2016 WL 4472993, at *2 (N.D. Cal. Aug. 22, 2016) (finding
19   compelling reasons to seal “sensitive financial information of Defendant that, if made public, could
20   harm Defendant’s business interests” filed in connection with motion for preliminary approval of class
21   action settlement); Apple Inc. v. Samsung Elecs. Co., 727 F.3d 1214, 1226, 1228 (Fed. Cir. 2013) (under
22   Ninth Circuit law, product-specific financial information is appropriately sealable under the “compelling
23   reasons” standard where that information could be used to the company’s competitive disadvantage).
24            I declare under penalty of perjury under the laws of the United States that the foregoing is true
25   and correct and that this declaration is executed this 15th day of April, in San Francisco, California.
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                                                                    Simon J. Frankel
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      DECLARATION OF SIMON J. FRANKEL IN SUPPORT OF                                         5:17-cv-02185-BLF
      PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE
      UNDER SEAL
